                              Case 2:04-cr-00004-MCE Document 70 Filed 09/20/05 Page 1 of 2


                         1    SHANNAN DUGAN, SBN 165325
                              655 Montgomery Street #1200
                         2    San Francisco CA 94111
                              Phone 415/291-9260
                         3
                              Attorney for Defendant
                         4    CYNTHIA BARCELO BLAKE
                         5

                         6                        UNITED STATES DISTRICT COURT
                         7                       EASTERN DISTRICT OF CALIFORNIA
                         8

                         9    UNITED STATES OF AMERICA,
                       10                Plaintiff,                     CR. S 04-0004 MCE
                       11          v.                                   SUBSTITUTION OF COUNSEL;
                       12     CYNTHIA BARCELO BLAKE,                    ORDER
                       13                Defendant.
                                                                 /
                       14
                                   COMES NOW defendant CYNTHIA BARCELO BLAKE, and hereby
                       15
                              substitutes and appoints SHANNAN DUGAN, 655 Montgomery #1200,
                       16
                              San Francisco, California 94111, 415/291-9260, as her attorney
                       17
                              of record in the place and stead of Shari L. Greenberger, 506
                       18
                              Broadway, San Francisco, California 94133.
                       19
                                   Dated:   September 13, 2005
                       20
                                                                 /s/ CYNTHIA BLAKE
                       21                                       CYNTHIA BARCELO BLAKE
                       22          We accept this substitution.
                       23
                                /s/ SHANNAN DUGAN                /s/ SHARI L. GREENBERGER
                       24     SHANNAN DUGAN                     SHARI L. GREENBERGER
                       25          IT IS SO ORDERED.
                       26          Dated: September 20, 2005
                       27
PIER 5 LAW OFFICES
   5 0 6 BR O A D WA Y
   S A N FR A N C IS C O 28
     (415) 986-5591
  FAX: (415) 421-1331
                              Case 2:04-cr-00004-MCE Document 70 Filed 09/20/05 Page 2 of 2


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                         3                                      _____________________________
                                                                MORRISON C. ENGLAND, JR
                         4
                                                                UNITED STATES DISTRICT JUDGE
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